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 6 Poshow Ann Kirkland, solely as Trustee of the Bright
   Conscience Trust Dated September 9, 2009
 7
                       UNITED STATES DISTRICT COURT
 8
 9                    CENTRAL DISTRICT OF CALIFORNIA
10
                               LOS ANGELES DIVISION
11
                                                        2:18-cv-8323 DSF
12
     In re,                                 Dist. Ct. No. 2:18-cv-01413 DSF
13
   EPD Investment Company, LLC and          Bankruptcy Court:
14 Jerrold S. Pressman,                     Case No.: 2:10-bk-62208-ER (Chapter 7)
                                            Adv. No.: 2:12-ap-02424-ER
15                    Debtors.
16 Jason M. Rund, Chapter 7 Trustee,        NOTICE OF MOTION AND
                                            MOTION BY DEFENDANTS JOHN
17                    Plaintiff,            C. KIRKLAND AND POSHOW ANN
                                            KIRKLAND AS TRUSTEE TO
18            v.                            WITHDRAW REFERENCE TO
                                            BANKRUPTCY COURT;
19 John C. Kirkland, an individual and      MEMORANDUM OF POINTS AND
   Poshow Ann Kirkland, solely as           AUTHORITIES; DECLARATION OF
20 Trustee of the Bright Conscience Trust
   Dated September 9, 2009,                 LEWIS R. LANDAU
21
                      Defendants.           DEMAND FOR TRIAL BY JURY
22
                                            Date: October 29, 2018
23                                          Time: 1:30 pm
                                            Place: Courtroom 7D
24                                                 Judge Dale S. Fischer
25                                                 350 West 1st Street
                                                   Los Angeles, California 90012
26
27
28

     NOTICE OF MOTION AND MOTION BY DEFENDANT JOHN C. KIRKLAND TO WITHDRAW REFERENCE
         TO BANKRUPTCY COURT; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION
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 1         TO THE COURT, AND TO PLAINTIFF JASON M. RUND, AS CHAPTER
 2 7 TRUSTEE FOR EPD INVESTMENT COMPANY, LLC AND JERROLD S.
 3 PRESSMAN, AND HIS ATTORNEYS OF RECORD:
 4         PLEASE TAKE NOTICE THAT on the date and time set forth above,
 5 Defendant John C. Kirkland and Poshow Ann Kirkland, solely as Trustee of the Bright
 6 Conscience Trust Dated September 9, 2009 (“BC Trust”) (collectively “Defendants”)
 7 will and hereby do move, jointly and individually, to withdraw the reference of the
 8 captioned adversary proceeding (“Adversary Proceeding”) to the United States
 9 Bankruptcy Court for the Central District of California, Los Angeles Division. This
10 motion is brought pursuant to 28 U.S.C. § 157(d), Rule 5011 of the Federal Rule of
11 Bankruptcy Procedure, Rule 5011-1 of the Local Bankruptcy Rules - Central District
12 of California, and Rule 9 (5011-9) of Chapter IV of the Local Civil Rules - Central
13 District of California.
14         There is good cause for this Court to immediately withdraw the reference of
15 the Adversary Proceeding to the bankruptcy court for the following reasons:
16         1.    This case involves claims of fraudulent conveyance and related claims
17 based on the same common set of operative facts and is ready for trial. The Ninth
18 Circuit has held that the bankruptcy court cannot conduct a jury trial of fraudulent
19 transfer claims absent mutual consent. See In re Billingham Ins. Agency, Inc., 702
20 F.3d 553 (9th Cir. 2012), aff’d 134 S.Ct. 2165 (2014). John C. Kirkland has demanded
21 a jury trial and does not consent to the bankruptcy court conducting that trial. A
22 defendant having a right to a jury trial and who does not consent to the bankruptcy
23 court conducting such trial has shown cause for withdrawal of the reference once the
24 case is ready for trial. See In re Healthcentral.com, 504 F.3d 775, 788 (9th Cir. 2007);
25 see also In re EPD Inv. Co., LLC, 821 F.3d 1146, 1151 (9th Cir. 2016). Accordingly,
26 as to Defendant John Kirkland, withdrawal of the reference is now required.
27         2.    Any purported non-jury claims for relief are based on the same common
28 set of operative facts as the jury trial claims. Accordingly, the claims subject to trial
                                                1
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 1 by jury must be adjudicated before the bankruptcy court may address any non-jury
 2 claims. As to Defendant Poshow Ann Kirkland, withdrawal of the reference is
 3 permissive for cause, insofar as it will promote the efficient use of judicial resources
 4 and avoid (a) the risk of inconsistent results and (b) the burden of piecemeal litigation.
 5         3.    Because the bankruptcy court will not be able to enter an appealable final
 6 judgment in the case and bifurcating the claims for separate trials in the District Court
 7 and bankruptcy court will admittedly result in piecemeal litigation and risks
 8 inconsistent verdicts, judicial economy supports withdrawal of the reference of the
 9 Adversary Proceeding at this time as to both Defendants.
10         This motion is based on this Notice of Motion and Motion, the Memorandum
11 of Points and Authorities and Declaration of Lewis R. Landau and the exhibits
12 attached thereto, the complete files and records in this matter, the argument of counsel
13 and such other and further matters as this Court may consider at or before the hearing
14 on this motion.
15         This motion is brought following the conference of counsel pursuant to Local
16 Rule 7-3, which occurred on September 17, 2018.
17                             DEMAND FOR JURY TRIAL
18         Pursuant to Federal Rule of Civil Procedure 38(b), Defendant John C. Kirkland
19 demands a jury trial on all issues triable by jury. Defendant John C. Kirkland does
20 not consent to a jury trial held before the bankruptcy court.
21 September 25, 2018                LEWIS R. LANDAU
                                     Attorney-at-Law
22
23
                                     By: /s/ Lewis R. Landau
24
                                         Lewis R. Landau
25
                                     Attorney for Defendants
26                                   John C. Kirkland, individually and Poshow Ann
                                     Kirkland, solely as Trustee of the Bright
27                                   Conscience Trust Dated September 9, 2009
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.      INTRODUCTION.
 3         Pursuant to 28 U.S.C. § 157(d), Rule 5011 of the Federal Rule of Bankruptcy
 4 Procedure, Rule 5011-1 of the Local Bankruptcy Rules - Central District of
 5 California, and Rule 9 (5011-9) of Chapter IV of the Local Civil Rules - Central
 6 District of California, Defendants submit this Memorandum of Points and Authorities
 7 in support of their motion for an order withdrawing the reference of this Adversary
 8 Proceeding to the United States Bankruptcy Court for the Central District of
 9 California, Los Angeles Division.
10         The Court is already familiar with this case.
11         Earlier this year, the bankruptcy court issued a Report and Recommendation
12 (R&R) that the Court grant a motion for summary adjudication (MSA) on claims for
13 avoidance and recovery of allegedly fraudulent transfers asserted by Plaintiff, Jason
14 M. Rund, as the chapter 7 trustee for the bankruptcy debtors EPD Investment
15 Company, LLC (EPD), and Jerrold S. Pressman. Defendants John C. Kirkland and
16 his wife, Poshow Ann Kirkland as trustee for the Bright Conscience Trust (BC Trust),
17 filed written objections to the R&R.        Having considered those objections and
18 additional evidence that Defendants submitted, the Court rejected the R&R, holding
19 that there were triable issues of material fact requiring a trial. The Court decided the
20 bankruptcy court should not have dismissed defense evidence as a “sham” and
21 without foundation in order to conclude, as a matter of law, that Pressman had
22 operated EPD as a “Ponzi” scheme and that John Kirkland was an EPD “insider” who
23 was aware of the company’s financial weakness. The Court denied Plaintiff’s MSA
24 on his fraudulent transfer claims.
25         Meanwhile, under its own authority the bankruptcy court had also issued a
26 Memorandum of Decision to grant Plaintiff’s separate MSA on his claim for
27 disallowance and equitable subordination of the BC Trust’s bankruptcy claims. But
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 1 because the bankruptcy court acknowledged its decision relied on much of the factual
 2 and legal analysis in its R&R, it deferred a final order as to the BC Trust until this
 3 Court acted on the R&R. The bankruptcy court’s rationale for the Memorandum of
 4 Decision as to the BC Trust collapsed with this Court’s rejection of the reasoning and
 5 result of the R&R.
 6         At this point, withdrawal of the reference is required as to Defendant John
 7 Kirkland, because he never consented to the jurisdiction of the bankruptcy court and
 8 the allegations against him are now ready for the jury trial in the District Court that
 9 he has consistently demanded. Plaintiff cannot dispute that.
10         Furthermore, it would best serve the interests of judicial efficiency and fairness
11 if the reference were also withdrawn as to John Kirkland’s wife, Defendant Ann
12 Poshow Kirkland, whose only involvement in the proceedings is as the trustee for the
13 bankruptcy claimant Bright Conscience Trust (BC Trust). As the bankruptcy court
14 has acknowledged, the facts and the issues raised by Plaintiff’s allegations overlap as
15 to John Kirkland and the BC Trust. Indeed, as between the two Defendants it is the
16 conduct by John Kirkland alone that allegedly justifies the various claims for relief
17 that Plaintiff alleges against the BC Trust. Permissive withdrawal of the reference as
18 to Poshow Ann Kirkland would promote judicial efficiency and economy by allowing
19 a single trier of fact to determine those allegations concerning John Kirkland that may
20 also affect the interests of the BC Trust. Here, that trier of fact should be a jury in an
21 Article III court. Consistent with the position that Plaintiff himself has successfully
22 taken earlier in these proceedings, a single forum for both Defendants would also
23 avoid the risk of inconsistent results and the burden of piecemeal litigation from which
24 the Ninth Circuit (in this very case) has held parties should be protected. In re EPD
25 Inv. Co., LLC, 821 F.3d 1146, 1150 (9th Cir. 2016).
26         The Court should grant this motion to withdraw the reference as to both
27 Defendants in the action.
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 1 II.    STATEMENT OF FACTS AND PROCEDURAL HISTORY.
 2        The following allegations pertinent to this Adversary Proceeding are recited
 3 from the Court’s Order Rejecting R&R:
 4              This is one of several bankruptcy proceedings involving EPD
          Investment Co., LLC (EPD). See Dkt. 4. In December 2010, creditors
 5
          commenced the involuntary petition at issue here. Appendix Record
 6        (REC), Dkts. 15-17, at 11982.
 7              Pressman is the sole proprietor of EPD. Id. Plaintiff alleges EPD
          has not been profitable since before 2003. Id. Between 2003 and 2009,
 8        EPD allegedly lost money every year. See id. Plaintiff also alleges that
 9        EPD has operated as a Ponzi scheme since 2003, specifically alleging
          that EPD used investments it received to pay existing creditors. Id. By
10        2009, EPD had allegedly stopped making payments to its creditors
11        because it lacked cash infusions from new investors. Id.
12               John Kirkland served as Pressman’s lawyer for his various
          ventures and allegedly invested money in EPD. Id. The Trustee’s basic
13        allegation is that John Kirkland took various steps to hide EPD’s
14        financial condition.
15 Doc. # 22:2.1
16        Plaintiff filed the fourth amended and operative complaint on October 14, 2016.
17 JR at 1:47 (“Complaint”). Plaintiff pleads six claims for relief against both John
18 Kirkland and his wife, Poshow Ann Kirkland solely as the trustee for the BC Trust.
19 JR at 1:62-69 [Complaint pp. 15-22].
20        The claims for relief set forth in the Complaint are stated as follows (emphasis
21 added):
22        1.    First Claim for Relief: Disallowance of Proofs of Claim, or, in the
23              Alternative, Equitable Subordination of Claims and Proofs of Claim
24              Against Defendants. JR 1:62.
25
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27   “Doc. __” refers to the Electronic Filing System’s docket entries for this Court’s
   record. A joint record (“Joint Record” or “JR”) of proceedings before the bankruptcy
28 court was filed with this Court on May 15, 2018. Doc. #s 15-17.
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 1        2.     Avoidance of Fraudulent Transfers Against Defendants. JR 1:64.
 2        3.     Avoidance of Fraudulent Transfers Against Defendants. JR 1:65.
 3        4.     Avoidance of Fraudulent Transfers Against Defendants. JR 1:66.
 4        5.     Avoidance of Fraudulent Transfers Against Defendants. JR 1:67.
 5        6.     Recovery of Avoided Transfers Against Defendants. JR 1:67.
 6        There is a single statement of facts covering all these claims for relief in the
 7 Complaint, each of which names both John Kirkland and Poshow Ann Kirkland as
 8 defendants. JR 1:50-62 [Complaint pages 3-15]. In particular, the Complaint’s sixth
 9 claim, by which Plaintiff seeks recovery of money from Defendants that the debtors
10 are alleged to have fraudulently transferred for the benefit of John Kirkland, is based
11 on the same allegations of inequitable conduct by John Kirkland alone that the Trustee
12 states in paragraphs 1 through 47 of the Complaint to support his first claim for
13 disallowance and equitable subordination of the BC Trust’s claims in bankruptcy. JR
14 1:62-64, 67 [Complaint pages 15-17, 20]. The Complaint alleges no conduct by
15 Poshow Ann Kirkland herself that would justify any of the relief that Plaintiff seeks.
16        On September 5, 2017 Plaintiff filed two motions to summarily adjudicate
17 claims in the Complaint (“MSA”). See JR 1:89; 1:147. One motion sought summary
18 adjudication of the second, third and sixth claims for avoidance and recovery of
19 allegedly fraudulent transfers. The other motion sought summary adjudication of the
20 first claim for disallowance and equitable subordination of the BC Trust’s claims.
21        On February 17, 2018 the bankruptcy court issued decisions addressing what it
22 (correctly) characterized as the “related” motions. JR 37:11964 [BK Doc 340, p. 3].
23 John Kirkland has consistently and properly stated his objection to the adjudication
24 of any claims by the bankruptcy court. See Exhibit 5 hereto (joint status report filed
25 December 31, 2013). Accordingly, the bankruptcy court issued what was only its
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 1 “Report and Recommendation” to the District Court with proposed findings
 2 concerning the second, third and sixth claims for relief. JR 37:11979 (“R&R”). The
 3 bankruptcy court recommended that the District Court grant Plaintiff’s motion for
 4 summary adjudication on those avoidance and recovery claims. JR 37:11996 [BK
 5 Doc. 341 p. 18].
 6        Concurrently, the bankruptcy court also entered a Memorandum of Decision
 7 proposing to grant summary adjudication on Plaintiff’s first claim for disallowance
 8 and equitable subordination. JR 37:11962. However, in this proposed ruling the
 9 bankruptcy court “note[d] that certain of the issues relevant to this matter are
10 addressed in the [R&R]. To the extent those issues are not restated herein, they are
11 incorporated by reference.” JR 37:11967 [BK Doc 340, p. 6]. And because the same
12 facts were at issue on both MSAs, the bankruptcy court also decided that, “the
13 findings set forth [in the Memorandum of Decision] will not become the order of the
14 Court until the District Court acts upon the [R&R] . . . .” JR 37:11694.
15        With the Memorandum of Decision thus held in abeyance, Defendants filed
16 written objections to the bankruptcy court’s R&R. Doc. # 9. On June 25, 2018 this
17 Court entered its Order rejecting the R&R. See Doc # 22. Among other things, the
18 Court decided the bankruptcy court should not have dismissed defense evidence as
19 without foundation and a “sham” in order to conclude, as a matter of law, that
20 Pressman had operated EPD as a “Ponzi” scheme and that John Kirkland was an EPD
21 “insider” aware of the company’s financial weakness. Doc # 22:4-12 (a true and
22 correct copy of which is attached as Exhibit 1 hereto). On August 13, 2018, the Court
23 entered an Order denying Plaintiff’s motion for reconsideration. See Doc # 27 (a true
24 and correct copy of which is attached as Exhibit 2 hereto).
25         Following a status hearing held September 11, 2018, the bankruptcy court
26 entered an Order requiring John Kirkland to file this motion to withdraw the reference
27 not later than September 25, 2018. See Exhibits 3 (OSC) and 4 (ruling regarding
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 1 issuance of the OSC) attached hereto. This motion is filed in response to the
 2 bankruptcy court’s Order.
 3 III.    ARGUMENT
 4         A.    Applicable Legal Standard.
 5         At its discretion, the District Court may, on its own motion or on motion timely
 6 filed by any party for cause shown, withdraw any case or proceeding referred to the
 7 bankruptcy court. See 28 U.S.C. § 157(d); Fed. R. Bankr. P. 5011. Although Section
 8 157(d) does not define “cause,” in Security Farms v. Int’l Bhd. Of Teamsters, etc.,
 9 124 F.3d 999 (9th Cir. 1997), the Ninth Circuit held that the District Court “should
10 consider the efficient use of judicial resources, delay and costs to the parties,
11 uniformity of bankruptcy administration, the prevention of forum shopping, and other
12 related factors,” in determining whether cause to withdraw the reference exists. Id. at
13 1008.
14         While fraudulent transfer claims have been referred to as core proceedings, the
15 Ninth Circuit has held that the bankruptcy court cannot adjudicate such claims absent
16 mutual consent and that such claims must be presented to a jury for determination
17 when jury trial rights are preserved. See In re Billingham Ins. Agency, Inc., 702 F.3d
18 553 (9th Cir. 2012), aff’d 134 S.Ct. 2165 (2014). A defendant having a right to a jury
19 trial and who does not consent to the bankruptcy court conducting such trial has
20 shown cause for withdrawal of the reference once the case is ready for trial. In re
21 Healthcentral.com, 504 F.3d 775, 788 (9th Cir. 2007); see also In re EPD Inv. Co.,
22 LLC, 821 F.3d at 1151.
23         Here, the right to a jury trial exists for the claims to avoid and recover allegedly
24 fraudulent transfers because Defendant John Kirkland has not filed proofs of claim in
25 the bankruptcy case, has preserved his right to trial by jury and has not consented to
26 the bankruptcy court conducting such trial. See Granfinanciera, S.A. v. Nordberg,
27 492 U.S. 33, 58-59 (1989); Langenkamp v. Culp, 498 U.S. 42, 45 (1990) (“If a party
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                                                8
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 1 does not submit a claim against the bankruptcy estate, however, the trustee can
 2 recover allegedly preferential transfers only by filing what amounts to a legal action
 3 to recover a monetary transfer. In those circumstances the preference defendant is
 4 entitled to a jury trial.”); Federal Rule of Bankruptcy Procedure 9015(b) (stating that
 5 the bankruptcy court may conduct a jury trial upon consent). Because John Kirkland
 6 has requested a jury trial and does not consent to the bankruptcy court conducting that
 7 trial, the reference of the Adversary Proceeding must be withdrawn for a jury trial to
 8 be conducted in District Court. See In re Heller Ehrman LLP, 464 B.R. 348, 351
 9 (N.D.Cal. 2011) (“Clearly good cause for withdrawal would be the absence of
10 jurisdiction to adjudicate the action”); In re Daewoo Motor America, Inc., 302 B.R.
11 308, 315 (C.D.Cal. 2003) (where, as here, “Defendant filed a jury demand but
12 withheld its consent to the bankruptcy court’s holding the jury trial, this Court would
13 be obligated to withdraw the reference”).
14         Furthermore, because of the common factual allegations and overlapping
15 nature of the claims against the BC Trust and John Kirkland, the Court should
16 withdraw the reference of the Adversary Proceeding as to both Defendants. The
17 Supreme Court held in Ross v. Bernhard, 396 U.S. 531, 90 S.Ct. 733, 24 L.Ed.2d 729
18 (1970), that “where equitable and legal claims are joined in the same action, there is
19 a right to jury trial on the legal claims which must not be infringed either by trying
20 the legal issues as incidental to the equitable ones by a court trial of a common issue
21 existing between the claims * * *.” 396 U.S. at 537-38, 90 S.Ct. at 738, 24 L.Ed.2d at
22 736. Prior nonjury trial of the equitable claims may infringe the right to jury trial on
23 the legal claims because of the collateral estoppel or res judicata effect of a prior
24 judicial determination of issues common to the two sets of claims. Heyman v. Kline,
25 456 F.2d 123, 130 (2d Cir.), cert. denied, 409 U.S. 847, 93 S.Ct. 53, 34 L.Ed.2d 88
26 (1972).
27         The Supreme Court has cautioned, “[w]hen legal and equitable claims are
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 1 joined in the same action, ‘the right to jury trial on the legal claim, including all issues
 2 common to both claims, remains intact.’” Lytle v. Household Mfg., Inc., 494 U.S.
 3 545, 550 (1990) (quoting Curtis v. Loether, 415 U.S. 189, 196 n.11 (1974)).
 4 Accordingly, “facts common to legal and equitable claims must be adjudicated by a
 5 jury,” and “[t]he right to a trial by jury must be preserved even if the legal claims are
 6 characterized as incidental to the equitable claims.” In re Basile, 472 B.R. 147, 152
 7 (Bankr. D. Mass. 2012) (citing Dairy Queen, Inc. v. Wood, 369 U.S. 469, 473 n.8
 8 (1962) and Beacon Theatres, Inc. v. Westover, 359 U.S. 500, 510-11 (1959)); see also
 9 Marshak v. Tonetti, 813 F.2d 13, 16-17 (1st Cir. 1987). “In such instances a court may
10 not try the equitable claims first because to do so would subject the jury’s findings to
11 the principles of collateral estoppel.” In re Basile, 472 B.R. at 152 (citing Dairy
12 Queen, 369 U.S. at 479).
13         Thus, the trials cannot be bifurcated into separate trials in the District Court and
14 bankruptcy court. Instead, there can and should be one jury trial in the District Court.
15         Plaintiff chose to bring his claims in a single action against both Defendants,
16 fully aware that only the BC Trust had filed proofs of claim. Then, he successfully
17 argued to the bankruptcy court, the District Court, and the Ninth Circuit against
18 bifurcation of the fraudulent transfer claims for relief against John Kirkland into
19 arbitration, while the disallowance and equitable subordination claims against
20 Poshow Ann Kirkland proceeded in bankruptcy court. See Brief of Appellee, Jason
21 M. Rund, Chapter 7 Trustee at ECF page 15, attached hereto as Exhibit 6. Each of
22 the courts accepted Plaintiff’s argument that his claims against Defendants should be
23 resolved in the same forum because having two trials “is more likely to result in the
24 sort of piecemeal litigation and inconsistent findings that the Ninth Circuit has held
25 to be in conflict with the purposes of the Code.” Id. at internal ECF page 44.
26         “Where a proceeding in bankruptcy involves common issues of law and fact
27 with a case pending in district court, ‘the overlapping of facts, transactions and issues
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     NOTICE OF MOTION AND MOTION BY DEFENDANTS TO WITHDRAW REFERENCE TO BANKRUPTCY
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 1 in the two cases . . . is good cause for withdrawal of the reference and consolidation
 2 with the district court proceeding.’ ” Big Rivers Elec. Corp. v. Green River Coal Co.,
 3 Inc., 182 B.R. 751, 755 (W.D.Ky. 1995) (good cause found for discretionary
 4 withdrawal). “[F]ragmenting a proceeding by withdrawing one of many defendants
 5 is normally undesirable. In many cases it would be more appropriate for this court to
 6 exercise its discretion and withdraw the entire proceeding . . . .”           In re IQ
 7 Telecommunications, Inc., 70 B.R. 742, 747 (N.D.Ill. 1987).
 8         It would be disingenuous for Plaintiff to now argue for two separate trials in
 9 two different forums, thereby guaranteeing the piecemeal litigation and potential for
10 inconsistent findings that he previously decried. Hamilton v. State Farm Fire & Cas.
11 Co., 270 F.3d 778, 782 (9th Cir. 2001) (equitable doctrine of judicial estoppel
12 “precludes a party from gaining an advantage by asserting one position, and then later
13 seeking an advantage by taking a clearly inconsistent position”); see also id. at 782-
14 83 (listing three factors a court may consider in invoking judicial estoppel). As the
15 Supreme Court explained, the purpose of judicial estoppel is to “ ‘protect the integrity
16 of the judicial process’ by ‘prohibiting parties from deliberately changing positions
17 according to the exigencies of the moment.’ ” New Hampshire v. Maine, 532 U.S.
18 742, 749-50 (2001). At this stage in the proceedings, the single forum that Plaintiff
19 himself previously argued for should be the District Court.
20         In sum, John Kirkland has demanded and maintained his right to a jury trial
21 throughout the Adversary Proceedings; he has not consented to the bankruptcy court
22 conducting the trial that is now ready to proceed. As a result, the District Court must
23 withdraw the reference as to the claims for relief against him. Consistent with
24 Plaintiff’s earlier contention that there should be just one forum for these proceedings,
25 the Court should now withdraw the reference of the Adversary Proceeding as to both
26 Defendants because the claims against John Kirkland are based on the same set of
27 overlapping factual allegations and issues as the claims against the BC Trust.
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 1         B.    This Motion to Withdraw the Reference is Timely.
 2         There is no specific deadline or timetable for bringing a motion to withdraw
 3 the reference in 28 U.S.C. § 157(d). Am. Coal Co. v. Enron N. Am. Corp. (In re Enron
 4 Corp.), No. 03 Civ. 1727 (LTS), 2003 U.S. Dist. LEXIS 19543, at *10 n.4 (S.D.N.Y.
 5 2003). Local Bankruptcy Rule 9015-2(g) provides that all pretrial proceedings
 6 through entry of a pretrial order shall be conducted by the bankruptcy judge. Here,
 7 immediately after the District Court entered its Order Rejecting R&R, the bankruptcy
 8 judge issued the OSC requiring that this motion be filed by September 25, 2018. See
 9 Exhibit 3 hereto. This motion was timely filed in accordance with the OSC.
10         C.    The Bankruptcy Court Cannot Conduct the Jury Trial Now
11               Required in this Adversary Proceeding.
12         Fraudulent transfer claims are statutorily core claims. In re Bellingham Ins.
13 Agency, Inc., 702 F.3d 553 at 561-65; see also, In re EPD Inv. Co., LLC, 821 F.3d at
14 1151. However, the Ninth Circuit has held that such claims cannot be adjudicated by
15 non-Article III judges absent mutual consent. Id., 702 F.3d at 565; see also, Mastro v.
16 Rigby, 764 F.3d 1090, 1093-94 (9th Cir. 2014) (fraudulent transfer claims are “Stern
17 claims” that are “defined as ‘core’ under § 157(b) but may not, as a constitutional
18 matter, be adjudicated as such.”). John Kirkland does not consent to the bankruptcy
19 court conducting a jury trial in this Adversary Proceeding. JR 1:29. Therefore, the
20 fraudulent transfer claims are treated as effectively non-core for purposes of
21 withdrawing the reference and cause is shown once the case is ready for trial. See In
22 re Healthcentral.com, 504 F.3d at 788.
23         Pursuant to 28 U.S.C. § 157(e):
24               If the right to a jury trial applies in a proceeding that may be heard
           under this section by a bankruptcy judge, the bankruptcy judge may
25
           conduct the jury trial if specially designated to exercise such jurisdiction
26         by the district court and with the express consent of all the parties.
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     28 U.S.C. § 157(e) (emphasis added).
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     NOTICE OF MOTION AND MOTION BY DEFENDANTS TO WITHDRAW REFERENCE TO BANKRUPTCY
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 1         John Kirkland does not consent to a jury trial in the bankruptcy court.
 2 Accordingly, only this Court, as an Article III court, may conduct the trial in this case.
 3 Because each of the fraudulent transfer claims asserted by Plaintiff is based on the
 4 same set of disputed facts that will require a jury trial, withdrawal of the reference is
 5 now necessary as to John Kirkland.
 6         Finally, all six of Plaintiff’s claims for relief against both Defendants are based
 7 upon identical or overlapping facts—in particular, that John Kirkland engaged in
 8 inequitable conduct. See Complaint at ¶¶ 38-47. Based on the allegations of the
 9 Complaint, Plaintiff must first try the jury trial claims in the District Court. Thus, this
10 motion should be granted.
11         D.     Withdrawal of the Reference Will Not Encourage Forum Shopping.
12         A motion to withdraw the reference may be deemed forum shopping when
13 withdrawal of the reference will “essentially reverse the bankruptcy court’s prior
14 determinations.” Canter v. Canter (In re Canter), 299 F.3d 1150, 1154 (9th Cir. 2002).
15 There can be no such concerns here as to John Kirkland because the bankruptcy court
16 simply cannot conduct the jury trial on Plaintiff’s claims for relief that is now required
17 in the Adversary Proceeding. As for the overlapping claims against the BC Trust, the
18 District Court has already rejected the reasoning of the bankruptcy court’s R&R with
19 respect to essential allegations. See, Security Farms, 124 F.3d at 1009 (effect of
20 district court’s withdrawal of the reference was not to promote forum shopping
21 because “without regard to withdrawal, the bankruptcy court’s order . . . inevitably
22 was subject to the approval of the district court.”).
23         It follows that forum shopping is not implicated by this motion, and the
24 reference should be withdrawn.
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 1        E.     Withdrawal of the Reference of the Adversary Proceeding as to Both
 2               Defendants Will Conserve Court and Party Resources.
 3        The bankruptcy court’s OSC contemplated additional briefing on whether
 4 claims should be bifurcated with the District Court conducting a jury trial on the
 5 fraudulent transfer claims and then returning the matter to the bankruptcy court to
 6 resolve the BC Trust related claims, perhaps with the benefit of a collateral estoppel
 7 determination of certain issues. However, that process will necessarily result in
 8 piecemeal litigation and the potential for inconsistent verdicts.
 9        The Complaint is predominantly for claims and factual allegations for which
10 the bankruptcy court cannot enter a final order. Not withdrawing the reference will
11 inevitably cause additional costs to the parties and expenditure of additional court
12 resources because whatever decision may be reached by the District Court will then
13 result in additional proceedings before the bankruptcy court - a process that can be
14 obviated if the reference is withdrawn for the Adversary Proceeding as to both
15 Defendants. Herbst Gaming, Inc. v. Insurcorp (In re Zante, Inc.), No. 3:10-cv-00231-
16 RCJ-RAM, 2010 U.S. Dist. LEXIS 137691, at *18 (D. Nev. Dec. 29, 2010)
17 (withdrawing reference will save time and money where non-core claims “will have
18 to be finally determined by the [District] Court after a second round of briefing in
19 response to the bankruptcy court’s eventual recommendation.”); see also Okla.
20 Natural Gas Co., Div. of ONEOK, Inc. v. Mahan & Rowsey, Inc., 48 B.R. 767, 771-
21 72 (Bankr. W.D, Okla. 1985) aff’d, 786 F.2d 1004 (10th Cir. 1986) (no deference is
22 owed by the district court to the bankruptcy court’s legal or factual findings and may
23 take its own evidence on de novo review under 11 U.S.C. § 157(c)).
24        Thus, consideration of the costs to the parties and the impact on the resources
25 of the court supports withdrawal of the reference of the Adversary Proceeding in this
26 instance as to both Defendants.
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     NOTICE OF MOTION AND MOTION BY DEFENDANTS TO WITHDRAW REFERENCE TO BANKRUPTCY
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 1 IV.    CONCLUSION
 2        Consideration of all of the relevant factors strongly favors withdrawal of the
 3 reference of this Adversary Proceeding as to both Defendants. Defendants therefore
 4 respectfully request that this Court enter its order withdrawing the reference of the
 5 Adversary Proceeding to the Bankruptcy Court. As to Defendant John Kirkland, the
 6 withdrawal is now required. As to Defendant Poshow Ann Kirkland, the withdrawal
 7 is permissive for cause.
 8
 9 September 25, 2018               LEWIS R. LANDAU
                                    Attorney-at-Law
10
11
12
                                    By: /s/ Lewis R. Landau
13                                      Lewis R. Landau
14                                  Attorney for Defendants
                                    John C. Kirkland, individually and Poshow Ann
15                                  Kirkland, solely as Trustee of the Bright
                                    Conscience Trust Dated September 9, 2009
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 1                      DECLARATION OF LEWIS R. LANDAU
 2 I, Lewis R. Landau, do hereby declare:
 3        1.     I am an attorney duly admitted to practice law in the State of California
 4 and before the United States District Court for the Central District of California. I am
 5 attorney of record for John C. Kirkland and Poshow Ann Kirkland, solely as Trustee
 6 of the Bright Conscience Trust Dated September 9, 2009 (collectively “Defendants”)
 7 in United States Bankruptcy Court adversary proceeding number 2:12-ap-02424 ER
 8 (“Adversary Proceeding”) and United States District Court case number 2:18-cv-
 9 01413 DSF. I offer this declaration in support of the Defendants’ motion to withdraw
10 the reference of the Adversary Proceeding to the United States Bankruptcy Court for
11 the Central District of California, Los Angeles Division based on my personal
12 knowledge of the procedural posture of the Adversary Proceeding.
13        2.     I believe that good cause exists for this Court to immediately withdraw
14 the reference of the Adversary Proceeding to the bankruptcy court for the following
15 reasons:
16 a.     This case involves claims of fraudulent conveyance and related claims based
17        on the same common set of operative facts and is ready for trial. The Ninth
18        Circuit has held that the bankruptcy court cannot conduct a jury trial of
19        fraudulent transfer claims absent mutual consent.        John C. Kirkland has
20        demanded a jury trial and does not consent to the bankruptcy court conducting
21        that trial. A defendant having a right to a jury trial and who does not consent
22        to the bankruptcy court conducting such trial has shown cause for withdrawal
23        of the reference once the case is ready for trial. I believe the case is ready for
24        trial because the bankruptcy judge has ordered this motion to withdraw the
25        reference filed at this time. Accordingly, as to Defendant John Kirkland,
26        withdrawal of the reference is now required.
27 b.     Any purported non-jury claims for relief are based on the same common set of
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 1        operative facts as the jury trial claims. Accordingly, the claims subject to trial
 2        by jury must be adjudicated before the bankruptcy court may address any non-
 3        jury claims.    As to Defendant Poshow Ann Kirkland, withdrawal of the
 4        reference is permissive for cause, insofar as it will promote the efficient use of
 5        judicial resources and avoid (a) the risk of inconsistent results and (b) the
 6        burden of piecemeal litigation.
 7 c.     Because the bankruptcy court will not be able to enter an appealable final
 8        judgment in the case and bifurcating the claims for separate trials in the District
 9        Court and bankruptcy court will admittedly result in piecemeal litigation and
10        risks inconsistent verdicts, judicial economy supports withdrawal of the
11        reference of the Adversary Proceeding at this time as to both Defendants.
12        3.     Plaintiff filed the fourth amended and operative complaint on October
13 14, 2016. JR at 1:47 (“Complaint”). “JR” refers to the parties’ Joint Record filed in
14 the earlier proceedings before the Court at electronic case file document numbers 15-
15 17. Plaintiff pleads six claims for relief against both John Kirkland and his wife,
16 Poshow Ann Kirkland solely as the trustee for the BC Trust. JR at 1:62-69 [Complaint
17 pp. 15-22].
18        4.     The claims for relief set forth in the Complaint are stated as follows:
19        (a)          First Claim for Relief: Disallowance of Proofs of Claim, or, in the
          Alternative, Equitable Subordination of Claims and Proofs of Claim Against
20
          Defendants. JR 1:62.
21        (b)          Avoidance of Fraudulent Transfers Against Defendants. JR 1:64.
          (c)          Avoidance of Fraudulent Transfers Against Defendants. JR 1:65.
22
          (d)          Avoidance of Fraudulent Transfers Against Defendants. JR 1:66.
23        (e)          Avoidance of Fraudulent Transfers Against Defendants. JR 1:67.
          (f)          Recovery of Avoided Transfers Against Defendants. JR 1:67.
24
25        5.     There is a single statement of facts covering all these claims for relief in
26 the Complaint, each of which names both John Kirkland and Poshow Ann Kirkland
27 as defendants. JR 1:50-62 [Complaint pages 3-15]. In particular, the Complaint’s
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 1 sixth claim, by which Plaintiff seeks recovery of money from Defendants that the
 2 debtors are alleged to have fraudulently transferred for the benefit of John Kirkland,
 3 is based on the same allegations of inequitable conduct by John Kirkland alone that
 4 the Trustee states in paragraphs 1 through 47 of the Complaint to support his first
 5 claim for disallowance and equitable subordination of the BC Trust’s claims in
 6 bankruptcy. JR 1:62-64, 67 [Complaint pages 15-17, 20]. The Complaint alleges no
 7 conduct by Poshow Ann Kirkland herself that would justify any of the relief that
 8 Plaintiff seeks.
 9          6.     On September 5, 2017 Plaintiff filed two motions to summarily
10 adjudicate claims in the Complaint (“MSA”). See JR 1:89; 1:147. One motion sought
11 summary adjudication of the second, third and sixth claims for avoidance and
12 recovery of allegedly fraudulent transfers.      The other motion sought summary
13 adjudication of the first claim for disallowance and equitable subordination of the BC
14 Trust’s claims.
15          7.     On February 17, 2018 the bankruptcy court issued decisions addressing
16 what it (correctly) characterized as the “related” motions. JR 37:11964 [BK Doc 340,
17 p. 3].        John Kirkland has consistently and properly stated his objection to the
18 adjudication of any claims by the bankruptcy court. See Exhibit 5 hereto (joint status
19 report filed December 31, 2013). Accordingly, the bankruptcy court issued what was
20 only its “Report and Recommendation” to the District Court with proposed findings
21 concerning the second, third and sixth claims for relief. JR 37:11979 (“R&R”). The
22 bankruptcy court recommended that the District Court grant Plaintiff’s motion for
23 summary adjudication on those avoidance and recovery claims. JR 37:11996 [BK
24 Doc. 341 p. 18].
25          8.     Concurrently, the bankruptcy court also entered a Memorandum of
26 Decision proposing to grant summary adjudication on Plaintiff’s first claim for
27 disallowance and equitable subordination. JR 37:11962. However, in this proposed
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 1 ruling the bankruptcy court “note[d] that certain of the issues relevant to this matter
 2 are addressed in the [R&R]. To the extent those issues are not restated herein, they
 3 are incorporated by reference.” JR 37:11967 [BK Doc 340, p. 6]. And because the
 4 same facts were at issue on both MSAs, the bankruptcy court also decided that, “the
 5 findings set forth [in the Memorandum of Decision] will not become the order of the
 6 Court until the District Court acts upon the [R&R] . . . .” JR 37:11694.
 7         9.    With the Memorandum of Decision thus held in abeyance, Defendants
 8 filed written objections to the bankruptcy court’s R&R. Doc. # 9. On June 25, 2018
 9 this Court entered its Order rejecting the R&R. See Doc # 22. Among other things,
10 the Court decided the bankruptcy court should not have dismissed defense evidence
11 as without foundation and a “sham” in order to conclude, as a matter of law, that
12 Pressman had operated EPD as a “Ponzi” scheme and that John Kirkland was an EPD
13 “insider” aware of the company’s financial weakness. Doc # 22:4-12 (a true and
14 correct copy of which is attached as Exhibit 1 hereto). On August 13, 2018, the Court
15 entered an Order denying Plaintiff’s motion for reconsideration. See Doc # 27 (a true
16 and correct copy of which is attached as Exhibit 2 hereto).
17         10.   Following a status hearing held September 11, 2018, the bankruptcy
18 court entered an Order requiring John Kirkland to file this motion to withdraw the
19 reference not later than September 25, 2018. See Exhibits 3 (OSC) and 4 (ruling
20 regarding issuance of the OSC) true and correct copies of which are attached hereto.
21 This motion is filed in response to the bankruptcy court’s Order.
22         11.   The bankruptcy court’s OSC contemplated additional briefing on
23 whether claims should be bifurcated with the District Court conducting a jury trial on
24 the fraudulent transfer claims and then returning the matter to the bankruptcy court to
25 resolve the BC Trust related claims, perhaps with the benefit of a collateral estoppel
26 determination of certain issues. However, that process will necessarily result in
27 piecemeal litigation and the potential for inconsistent verdicts.
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 1        12.    The Complaint is predominantly for claims and factual allegations for
 2 which the bankruptcy court cannot enter a final order. Not withdrawing the reference
 3 will inevitably cause additional costs to the parties and expenditure of additional court
 4 resources because whatever decision may be reached by the District Court will then
 5 result in additional proceedings before the bankruptcy court - a process that can be
 6 obviated if the reference is withdrawn for the Adversary Proceeding as to both
 7 Defendants.
 8        13.    Plaintiff chose to bring his claims in a single action against both
 9 Defendants, fully aware that only the BC Trust had filed proofs of claim. Then, he
10 successfully argued to the bankruptcy court, the District Court, and the Ninth Circuit
11 against bifurcation of the fraudulent transfer claims for relief against John Kirkland
12 into arbitration, while the disallowance and equitable subordination claims against
13 Poshow Ann Kirkland proceeded in bankruptcy court. See Brief of Appellee, Jason
14 M. Rund, Chapter 7 Trustee at ECF page 15, a true and correct copy of which is
15 attached hereto as Exhibit 6. Each of the courts accepted Plaintiff’s argument that his
16 claims against Defendants should be resolved in the same forum because having two
17 trials “is more likely to result in the sort of piecemeal litigation and inconsistent
18 findings that the Ninth Circuit has held to be in conflict with the purposes of the
19 Code.” Id. at internal ECF page 44.
20        I declare under penalty of perjury under the laws of the United States of
21 America that the foregoing is true and correct to the best of my knowledge and belief.
22        Executed September 25, 2018 at Los Angeles, California.
23
                                                         /s/ Lewis R. Landau
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                                                         Lewis R. Landau
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                           EXHIBIT 1


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                 UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF CALIFORNIA


     In re: EPD Investment Co.,
     LLC                                  Case No.: 18-1413 DSF
                                          Bankruptcy No.: 12-02424 ER

     JASON M. RUND,                       ORDER REJECTING
           Chapter 7 Trustee,             REPORT AND
           Plaintiff,                     RECOMMENDATION AND
                                          PROPOSED FINDINGS OF
                     v.                   UNITED STATES
                                          BANKRUPTCY JUDGE,
     JOHN C. KIRKLAND, et al.,            STRIKING DEFENDANTS’
            Defendants.                   REPLY BRIEF, AND
                                          DENYING MOTION FOR
                                          SUMMARY ADJUDICATION




          On February 17, 2018, the United States Bankruptcy Court
    filed a Report and Recommendation (R&R) and proposed findings
    recommending that this Court grant Chapter 7 Trustee-Plaintiff
    Jason Rund’s motion for summary adjudication on his claim that
    Defendants made fraudulent transfers with actual intent.
    Defendants John Kirkland and Poshow Ann Kirkland (as trustee
    of the Bright Conscience Trust) object to the R&R, and submit
    additional evidence.

         Pursuant to Rule 9033(d) of the Federal Rules of Bankruptcy
    Procedure, the Court has reviewed the additional evidence and the



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    portions of the Bankruptcy Court’s findings of fact to which
    written objections have been filed. For the reasons stated below,
    the Court rejects the recommendation and findings of the
    Bankruptcy Court and denies the motion for summary
    adjudication.


                I.   Facts and Procedural Background

          This is one of several bankruptcy proceedings involving EPD
    Investment Co., LLC (EPD). See Dkt. 4. In December 2010,
    creditors commenced the involuntary petition at issue here.
    Appendix Record (REC), Dkts. 15-17, at 11982.
          Pressman is the sole proprietor of EPD. Id. Plaintiff alleges
    EPD has not been profitable since before 2003. Id. Between 2003
    and 2009, EPD allegedly lost money every year. See id. Plaintiff
    also alleges that EPD has operated as a Ponzi scheme since 2003,
    specifically alleging that EPD used investments it received to pay
    existing creditors. Id. By 2009, EPD had allegedly stopped
    making payments to its creditors because it lacked cash infusions
    from new investors. Id.
          John Kirkland served as Pressman’s lawyer for his various
    ventures and allegedly invested money in EPD. Id. The Trustee’s
    basic allegation is that John Kirkland took various steps to hide
    EPD’s financial condition. Therefore, the Trustee filed this suit
    against John Kirkland and Bright Conscience Trust, which is
    operated by Poshow Kirkland, seeking relief on claims for
    subordination and avoidance of fraudulent transfers. See id. The
    Trustee moved for summary adjudication on the issue of whether
    Defendants made fraudulent transfers with actual intent. Id. at
    11996.
          Finding no dispute of material fact, the Bankruptcy Court
    concluded that EPD operated as a Ponzi scheme. Id. at 11991-92.
    In reaching this decision, the Bankruptcy Court excluded the
    Declaration of Jerrold Pressman and the declaration and report of
    Defendant’s expert, J. Michael Issa (Issa Report). Id. at 11985-92.
    Because it deemed EPD a Ponzi scheme, the Bankruptcy Court


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    applied the “Ponzi presumption” that Defendants are liable for
    fraudulent transfers. Id. at 11992-93. The Bankruptcy Court also
    concluded that Defendants engaged in fraudulent conduct based
    on the “badges of fraud” test. Id. at 11993. Defendants timely
    objected to the R&R, arguing that the Bankruptcy Court
    improperly excluded the Pressman Declaration and the Issa
    Report – which, if admitted, would have raised a genuine dispute
    of material fact precluding summary adjudication.
                        II.   Standard of Review

          Defendants contend that this Court reviews the Bankruptcy
    Court’s findings of fact and conclusions of law de novo, citing Rule
    9033(d). Written Objections at 1, Dkt. 9-1. Plaintiff concedes de
    novo review is appropriate for the findings of fact and conclusions
    of law as they relate to John Kirkland. Response to Written
    Objections at 6, Dkt. 7. But Plaintiff contends the Court reviews
    both findings of fact and conclusions of law for clear error as they
    relate to Poshow Kirkland, as trustee to Bright Conscience Trust,
    because Ms. Kirkland previously consented to the Bankruptcy
    Court’s jurisdiction to hear and determine claims relating to her.
    Id. at 6-7 (citing 28 U.S.C. § 157(b)(1); In re EPD Inv. Co., LLC,
    821 F.3d 1146, 1151 n.2 (9th Cir. 2016)).
          The Court disagrees. First, In re EPD Inv. Co. does not
    support Plaintiff’s contention that Ms. Kirkland consented to the
    Bankruptcy Court’s jurisdiction. The footnote citation that
    Plaintiff relies on is ambiguous and does not show that Ms.
    Kirkland consented to the Bankruptcy Court’s jurisdiction. In re
    EPD Inv., 821 F.3d at 1151 n.2. Second, Plaintiff has not pointed
    to any evidence that Ms. Kirkland filed multiple proofs of claim in
    the debtors’ bankruptcy case. See Response to Written Objection
    (Response) at 6, Dkt. 7. Nor could the Court find any evidence in
    the record supporting this argument. Plaintiff cites to the R&R to
    support its contention, id. at 7 n.24; but that portion of the R&R
    merely summarizes Plaintiff’s allegations in his complaint. REC
    at 11982-84. Those allegations are not evidence that Ms. Kirkland
    consented to the Bankruptcy Court’s jurisdiction. The Court will
    review this entire matter de novo.


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                               III.   Analysis

          “A party may move for summary judgment, identifying each
    claim or defense – or the part of each claim or defense – on which
    summary judgment is sought. The court shall grant summary
    judgment if the movant shows that there is no genuine dispute as
    to any material fact and the movant is entitled to judgment as a
    matter of law.” Fed. R. Civ. P. 56(a).1 “This burden is not a light
    one.” In re Oracle Corp. Sec. Litig., 627 F.3d 376, 387 (9th Cir.
    2010). But the moving party need not disprove the opposing
    party’s case. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
    Rather, if the moving party satisfies this burden, the party
    opposing the motion must set forth specific facts, through
    affidavits or admissible discovery materials, showing that there
    exists a genuine issue for trial. Id. at 323-24; Fed. R. Civ. P.
    56(c)(1).
           “[A] district court is not entitled to weigh the evidence and
    resolve disputed underlying factual issues.” Chevron Corp. v.
    Pennzoil Co., 974 F.2d 1156, 1161 (9th Cir. 1992). Rather, “the
    inferences to be drawn from the underlying facts must be viewed
    in the light most favorable to the party opposing the motion.”
    Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S.
    574, 587-88 (1986) (internal brackets and ellipsis omitted).
         The Court will first consider Defendants’ contention that the
    Bankruptcy Court improperly excluded the Pressman Declaration
    and Issa Report. It will then consider whether the Bankruptcy
    Court properly granted summary adjudication on the issue of
    whether EPD’s transfers were fraudulent.
    A.The Pressman Declaration is Admissible

          The Bankruptcy Court first found the Pressman Declaration
    inadmissible under the sham affidavit rule. A party cannot create
    an issue of fact precluding summary judgment by introducing an


    1 The standards for summary judgment and summary adjudication are the

    same. See California v. Campbell, 138 F.3d 772, 780 (9th Cir. 1998).



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    affidavit contradicting his prior testimony. See Yeager v. Bowlin,
    693 F.3d 1076, 1080 (9th Cir. 2012) (comparing prior deposition
    testimony to affidavit).
          “[The] sham affidavit rule prevents a party who has
          been examined at length on deposition from raising an
          issue of fact simply by submitting an affidavit
          contradicting his own prior testimony, which would
          greatly diminish the utility of summary judgment as a
          procedure for screening out sham issues of fact. But
          the sham affidavit rule should be applied with caution
          because it is in tension with the principle that the
          court is not to make credibility determinations when
          granting or denying summary judgment. In order to
          trigger the sham affidavit rule, the district court must
          make a factual determination that the contradiction is
          a sham, and the inconsistency between a party’s
          [earlier statement] and subsequent affidavit must be
          clear and unambiguous to justify striking the
          affidavit.”
    Id. (internal citations and quotation marks omitted). Because tax
    returns must be filed under penalty of perjury, see United States
    v. Funds in the Amount of Thirty Thousand Six Hundred Seventy
    Dollars, 403 F.3d 448, 466 (7th Cir. 2005), courts have stricken
    declarations that conflict with a declarant’s tax return under the
    sham affidavit rule. See, e.g., id.; United States v. $353,443 in
    U.S. Currency, 701 F. App’x 493, 497 (7th Cir. 2017).
          Pressman declared: “EPD was a legitimate, ongoing,
    sustainable, revenue-producing, business operation.” REC at
    11992. The Bankruptcy Court concluded that this statement
    conflicted with his 2010 tax return, in which Pressman attested
    that EPD had $70 million in liabilities and no realized assets that
    year. REC at 11992. The Bankruptcy Court also found (1) that
    Pressman could not opine on whether EPD operated as a Ponzi
    scheme because he is not an accountant, and (2) his statements
    should be excluded as vague and self-serving. Id. at 11991-92.




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          Excluding the Pressman Declaration was error. First, the
    Pressman Declaration does not necessarily conflict with EPD’s
    2010 tax return. Plaintiff alleged that EPD’s illegal conduct took
    place between 2003 and 2009. REC at 11982. But EPD could
    have been sustainable during some of those years, as Pressman
    declares. Likewise, EPD could have financially collapsed in 2010,
    as EPD’s 2010 tax returns reflect. Indeed, Defendants suggest
    that the “Great Recession” was the root of EPD’s financial
    collapse. Written Objections at 1-2. Certainly, the Court is
    skeptical that EPD had $70 million in liabilities in 2010, yet was a
    sustainable business for the prior seven years — even in light of
    the recession. However, the alleged inconsistency is not so “clear
    and unambiguous” that it justifies striking the affidavit.” See
    Yeager, 693 F.3d at 1080.
          Nor does Pressman need to be an accountant to testify that
    EPD did not operate as a Ponzi scheme. The perpetrator of a
    Ponzi scheme “must know that the scheme will eventually collapse
    as a result of the inability to attract new investors.” Mark A.
    McDermott, Ponzi Schemes & the Law of Fraudulent &
    Preferential Transfers, 72 Am. Bankr. L.J. 157, 174 (1998) (citing
    In re Indep. Clearing House Co., 77 B.R. 843, 860 (D. Utah 1987)).
    Pressman could testify that he did not operate EPD as a Ponzi
    scheme, even though he is not an accountant, because a Ponzi
    scheme requires the participant to know that the scheme is
    unsustainable. In re Indep. Clearing House Co., 77 B.R. at 860.
    In fact, Pressman testifies in detail to this effect in his
    Supplemental Declaration. Supplemental Declaration of Jerrold
    Pressman, Dkt. 9-4.
          Additionally, the Bankruptcy Court erred in holding
    Pressman’s declaration lacked a proper foundation. REC at
    11992. Specifically, the Bankruptcy Court refused to consider a
    chart in Pressman’s declaration documenting EPD’s cash flow,
    finding that the chart was created to support Pressman’s
    statements, and thus, could not create a genuine dispute of
    material fact. Id. To the contrary, Pressman declared that he
    created the chart by using EPD’s general ledger, which contained



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    EPD’s financial information that had been maintained over four
    decades. REC at 9910-11, 9913, 9926.
          The Pressman Declaration is admissible. In any event, to
    address the Bankruptcy Court’s concerns and its conclusion that
    the original declaration was vague and conclusory, Pressman
    submits a more detailed and fact-based Supplemental Declaration.
    B.The Issa Report is Admissible

          Defendants also contend the Bankruptcy Court improperly
    excluded the Issa Report. Written Objections at 21-27. The
    Bankruptcy Court concluded Issa’s Report was inadmissible
    because it was based on: (1) insufficient facts, (2) unreliable
    principles and methods, and (3) a faulty application of principles
    and methods to the facts here. REC at 11986. The Bankruptcy
    Court also excluded Issa’s Report because it was a sham. Id. at
    11987.
       1. Issa’s Report Satisfies Daubert

          A party wishing to introduce expert testimony must show
    that the proposed testimony is admissible under Rule 702 of the
    Federal Rules of Evidence. Cooper v. Brown, 510 F.3d 870, 942
    (9th Cir. 2007). Rule 702 provides:
          A witness who is qualified as an expert by knowledge,
          skill, experience, training, or education may testify in
          the form of an opinion or otherwise if:
          (a) the expert’s scientific, technical, or other specialized
          knowledge will help the trier of fact to understand the
          evidence or to determine a fact in issue;
          (b) the testimony is based on sufficient facts or data;
          (c) the testimony is the product of reliable principles
          and methods; and
          (d) the expert has reliably applied the principles and
          methods to the facts of the case.



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    If the proposed testimony does not satisfy Rule 702’s
    requirements, the district court must exercise its “gatekeeper”
    function and exclude the testimony. See Cooper, 510 F.3d at 942.
    But a court may not exclude expert testimony simply because it
    finds the testimony unpersuasive or because the opponent has
    offered cogent criticisms of that testimony. “Vigorous cross-
    examination, presentation of contrary evidence, and careful
    instruction on the burden of proof are the traditional and
    appropriate means of attacking shaky but admissible evidence.”
    Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 596 (1993).
           First, the Issa Report was not based on insufficient facts.
    The Bankruptcy Court found that Issa relied on unaudited
    financial statements and ignored EPD’s tax returns in forming his
    opinion. REC at 11986. But Issa’s reliance on unaudited financial
    statements and his failure to rely on EPD’s tax returns goes to the
    weight of his testimony — not whether the evidence is admissible.
    Kennedy v. Collagen Corp., 161 F.3d 1226, 1231 (9th Cir. 1998)
    (“Disputes as to . . . faults in his use of a particular methodology . .
    . go to the weight, not the admissibility, of his testimony.”
    (brackets and citation omitted)). In any event, Issa has
    supplemented his declaration, noting that EPD’s tax returns do
    not change his conclusion. Supplemental Declaration of J.
    Michael Issa ¶ 12, Dkt. 9-3. Thus, Issa has cured the defect the
    Bankruptcy Court identified, even if his Report was initially based
    on insufficient facts.
          Next, the Bankruptcy Court took issue with Issa’s
    methodology, finding that his partial forensic accounting was
    insufficient. Id. at 11988-89. The Bankruptcy Court
    acknowledged that “a sampling of transactions might be sufficient
    under certain circumstances.” Id. at 11988. But it found that the
    forensic accounting here was insufficient because Issa had not
    looked at EPD’s tax returns or its post-2003 leases. Id. at 11989.
          The Issa Report should not have been excluded on this basis.
    Issa’s partial forensic accounting is sufficient to satisfy the
    requirements of Rule 702(b). Cf. United States, ex rel. Jordan v.
    Northrop Grumman Corp., No. CV 95-2985 ABC (Ex), 2003 WL


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    27366252, at *4 (C.D. Cal. Mar. 10, 2003) (allowing expert to
    testify about wreckage at a crash site, even though he only
    conducted a partial analysis of the maintenance record because
    some evidence was unavailable). Second, as mentioned above,
    Issa notes in his Supplemental Declaration that he has looked at
    EPD’s tax returns, and that the additional evidence does not
    change his conclusion. Supplemental Report of Issa ¶ 12.
          Issa’s Report satisfies the requirements of Rule 702.
       2. Issa’s Report is Not a Sham

          The Bankruptcy Court also excluded the Issa Report on the
    basis that it is a sham. According to the Bankruptcy Court, Issa’s
    Report conflicts with his deposition. REC 11987-98. In his
    Report, Issa attested that Jonavic’s2 testimony should be given
    considerable weight because there is no reason for Jonavic to lie.
    REC 11987-88. However, Issa testified in his deposition that he
    did not consider whether Jonavic’s testimony was accurate. Id.
    Moreover, the Bankruptcy Court found troublesome Issa’s
    explanation that he did not consider whether the Jonavic
    deposition was accurate until he reviewed the Jermiassen3
    deposition. Id. at 11987. The Jermiassen deposition was not
    taken until two months after Issa submitted his Report. Id. The
    Bankruptcy Court concluded that Issa’s deposition and Report
    were clearly and unambiguously contradictory, and thus excluded
    the Report under the sham affidavit rule. Id.
          Issa’s Report does not so clearly conflict with his deposition
    to justify excluding it under the sham affidavit rule. Issa
    acknowledges that he gave Jonavic’s deposition a cursory review
    before preparing his Report. Id. at 11987. This does not clearly
    and unambiguously conflict with the statement that Jonavic’s
    deposition testimony should be given considerable weight because
    he has no reason to lie. Id. at 9593. Issa’s deposition and Report
    are reconcilable: even though Issa gave a cursory review of

    2 Jonavic is Pressman’s CPA.   REC at 11986.
    3 Jermiassen in Plaintiff’s expert.   REC at 11991.



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    Jonavic’s deposition, he gave a lot of weight to this cursory review
    in his Report. Issa’s methodology affects the weight of his Report,
    not its admissibility. See Hemmings v. Tidyman’s Inc., 285 F.3d
    1174, 1188 (9th Cir. 2002) (noting that objections to the
    inadequacies of studies go towards the weight of evidence, not its
    admissibility). Issa’s Report does not so clearly and
    unambiguously conflict with his deposition that the sham affidavit
    rule applies. See Yeager, 693 F.3d at 1080.
       3. The Bankruptcy Court Improperly Resolved a
           Disputed Issue of Fact to Justify Excluding Issa’s
           Report

          The Bankruptcy Court excluded the Issa Report because it
    concluded “there is simply too great an analytical gap between the
    data and the opinion proffered.” Id. at 11990 (citing Gen. Elec. Co.
    v. Joiner, 522 U.S. 136, 146 (1997)). According to the Bankruptcy
    Court, between 2003 and 2010, EPD had approximately $10.85
    million in negative cash flows while it raised $64.52 million from
    investors. REC at 11990-91. And according to the Bankruptcy
    Court, having a negative cash flow of 16.8% of the amount raised
    from investors does not give investors a realistic opportunity to
    profit. Id. at 11991.
          This conclusion is problematic for several reasons. By
    accepting Jermiassen’s numbers and analysis when Defendants
    presented contrary evidence, the Bankruptcy Court improperly
    resolved a disputed issue of fact. Companies may suffer from
    negative cash flows for several years; a company is not a Ponzi
    scheme merely because it is has negative cash flow for several
    years. In re Juliet Homes, LP, Bankruptcy No. 07–36424, 2013
    WL 5674398, at *5 (Bankr. S.D. Tex. Oct. 17, 2013) (in resolving a
    motion for summary judgment, court held that the fact a company
    generated negative cash flows was not conclusive that the
    company operated as a Ponzi scheme). Defendants have
    introduced sufficient evidence that EPD tried to legitimately
    invest its money. See, e.g., REC at 9913-14. The Court cannot
    resolve this factual dispute on a summary adjudication motion.
    Chevron Corp., 974 F.2d at 1161.


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         The Bankruptcy Court thus erred in concluding that the Issa
    Report is inadmissible.
    C.The Bankruptcy Court Improperly Granted Summary
       Adjudication

          The Pressman Declaration and the Issa Report4 raise a
    genuine dispute of material fact as to whether EPD operated as a
    Ponzi scheme. Because the Bankruptcy Court incorrectly
    concluded that EPD operated as a Ponzi scheme as a matter of
    law, it also incorrectly presumed the transfers at issue were
    fraudulent pursuant to 11 U.S.C. §§ 548(a)(1) and 544 — the Ponzi
    scheme presumption.
          The Bankruptcy Court also concluded that the transfers at
    issue here were actually fraudulent based on the “badges of
    fraud.” Those include: “(1) actual or threatened litigation against
    the debtor; (2) a purported transfer of all or substantially all of the
    debtor’s property; (3) insolvency or other unmanageable
    indebtedness on the part of the debtor; (4) a special relationship
    between the debtor and the transferee; and, after the transfer, (5)
    retention by the debtor of the property involved in the putative
    transfer.” Acequia, Inc. v. Clinton (In re Acequia, Inc.), 34 F.3d
    800, 806 (9th Cir. 1994) (quotation and citation omitted)
    (emphasis removed).
          The Bankruptcy Court’s conclusion that the badges of fraud
    were present was based almost entirely on the fact that John
    Kirkland was an insider of EPD.5 REC at 11993-94. In reaching
    this conclusion, the Bankruptcy Court noted that “[e]ven in

    4 Even if the original submissions were not sufficient to raise a genuine issue,

    the supplemental submissions do so.
    5 The Bankruptcy Code defines an “insider” if the debtor is a corporation as:

    (1) the director of the debtor, (2) officer of the debtor, (3) person in control of
    the debtor, (4) partnership in which the debtor is a general partner, (5)
    general partner of the debtor, or (6) relative of a general partner, director,
    officer, or person in control of the debtor. 11 U.S.C. §§ 101(31)(B)(i)-(vi). It
    does not appear that Kirkland was any of these.



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    situations in which [John Kirkland] did not formally represent
    EPD, he controlled EPD’s legal strategy.” Id. To support this
    proposition, the Bankruptcy Court relied on a single email
    between John Kirkland and an associate at his former law firm.
    Id. But one email in which John Kirkland instructs his associate
    not to send a demand letter on behalf of EPD is far from sufficient
    to conclude as a matter of law that John Kirkland is an EPD
    insider.
          The Bankruptcy Court also noted that other badges of fraud
    exist. Id. at 11994. However, it apparently listed only some of the
    badges of fraud it concluded were present: (1) litigation had been
    threatened at the time the UCC-1 was recorded, (2) EPD was
    experiencing cash flow issues at that time, and (3) the transfers
    consisted of “substantially all” of EPD’s remaining assets. Even
    assuming these facts are undisputed, the supplemental
    declarations of Kirkland and Pressman provide explanations that
    prevent the Court from finding the transfers were fraudulent as a
    matter of law. The Court concludes that the Bankruptcy Court
    erred in finding that the badges of fraud established actual fraud
    as a matter of law.
         The Court rejects the Bankruptcy Court’s R&R and
    DENIES Plaintiff’s motion for summary adjudication on the issue
    of whether the transfers were actually fraudulent.
                         IV.   Motion to Strike

          Plaintiff contends the Court should strike Defendants’ Reply
    because Rule 9033 does not contemplate such a filing. See
    generally Mot. to Strike Reply Br., Dkt. 13. Courts that have
    considered the issue have acknowledged that an objector must
    obtain a court’s permission before filing a reply in support of an
    objection to a bankruptcy court’s report and recommendation.
    See, e.g., Cambron v. Med. Data Sys., Inc. (In re Cambron), 379
    B.R. 371, 374 (M.D. Ala. 2007); Reliance Ins. Co. v. Colonial Penn
    Franklin Ins. Co. (In re Montgomery Ward & Co., Inc.), 344 B.R.
    256, 261 (D. Del. 2006); Life Ins. Co. v. Ropes & Gray (In re
    Monarch Capital Corp.), 173 B.R. 31, 34 (D. Mass. 1994).



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    Defendants contend that Local Rule 7-10 permits them to file a
    reply here. Opp’n to Mot. to Strike Reply Br. at 5, Dkt. 14.
    Defendants are incorrect. Local Rule 7-10 applies to motions filed
    in this Court. It does not apply to written objections, such as the
    one filed by Defendants. The Court STRIKES Defendants’ Reply.
          Plaintiff also request sanctions in the form of attorneys’ fees
    for Defendants’ improper Reply. Although the Court may impose
    sanctions on parties for engaging in bad faith litigation, Goodyear
    Tire & Rubber Co. v. Hager, 137 S. Ct. 1178, 1186 (2017), this is
    not such a case. Plaintiff acknowledges that Defendants met and
    conferred regarding the possibility of withdrawing the Reply.
    Nevertheless, Defendants maintained that Local Bankruptcy Rule
    9013-1(g) allowed such a filing. Mot. to Strike at 7. Although the
    Local Bankruptcy Rule does not apply in this Court, this was not
    an unreasonable position to take, given there is no case on point,
    and there is no evidence that Defendants acted in bad faith. The
    request for fees is denied.
                                V.   Conclusion

         The Court REJECTS the Bankruptcy Court’s R&R and
    DENIES the Trustee’s Motion for Summary Adjudication. The
    Court STRIKES Defendants’ Reply. 6

       IT IS SO ORDERED.


     Date: 6/25/18                          ___________________________
                                            Dale S. Fischer
                                            United States District Judge




    6 Plaintiff and Defendants ask the Court to take judicial notice of several

    filings from other bankruptcy proceedings. Dkts. 9-1; 13-2. Because the
    Court does not rely on those filings in its ruling, the Court DENIES these
    requests for judicial notice as moot.



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                           EXHIBIT 2


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                UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF CALIFORNIA


   In re: EPD Investment Co., LLC
                                       Case No.: 18-01413 DSF
                                       Bankruptcy No.: 12-02424 ER
   JASON M. RUND,
         Chapter 7 Trustee,            Order DENYING Motion for
         Plaintiff,                    Reconsideration

                   v.

   JOHN C. KIRKLAND, et al.,
          Defendants.



        Chapter 7 Trustee-Plaintiff Jason Rund moves the Court to
   reconsider its Order rejecting the Bankruptcy Court’s Report and
   Recommendation (R&R) on the basis that it applied a de novo
   rather than clear error standard of review to claims relating to
   Bright Conscience Trust. Motion (Mot.), Dkt. 23. The Court
   deems this matter appropriate for decision without oral argument.
   See Fed. R. Civ. P. 78; Local Rule 7-15. The hearing set for
   August 20, 2018 is removed from the Court’s calendar. The
   Motion is DENIED.
         Absent “highly unusual circumstances,” reconsideration is
   appropriate only where: (1) the court is “presented with newly
   discovered evidence”; (2) the court “committed clear error or the
   initial decision was manifestly unjust”; or (3) there is “an
   intervening change in controlling law.” School Dist. No. 1J,
   Multnomah Cty., Or. v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir.
   1993). In the Central District of California, a motion for
   reconsideration may be made only on grounds of:



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         (a) a material difference in fact or law from that
         presented to the Court before such decision that in the
         exercise of reasonable diligence could not have been
         known to the party moving for reconsideration at the
         time of such decision, or (b) the emergence of new
         material facts or a change of law occurring after the
         time of such decision, or (c) a manifest showing of a
         failure to consider material facts presented to the
         Court before such decision.
   L.R. 7-18. “No motion for reconsideration shall in any manner
   repeat any oral or written argument made in support of or in
   opposition to the original motion.” Id.
         Rund has not met the standard for prevailing on a motion for
   reconsideration. He contends that the Court failed to consider
   record evidence showing that the Bright Conscience Trust,
   through Poshow Kirkland, consented to the Bankruptcy Court’s
   jurisdiction by filing proofs of claims in this case. Mot. at 5-7. The
   record does include evidence that Poshow signed several proofs of
   claims. Appendix Record (REC), Dkts. 15-17, at 4376-84. But
   Rund did not cite to these proofs of claims in his Response to
   Defendants’ Written Objections. See Response to Written
   Objections at 6-7, Dkt. 7. The Court has no duty to “paw over the
   files without assistance from the parties.” Orr v. Bank of America,
   NT & SA, 285 F.3d 764, 775 (9th Cir. 2002) (quotation marks,
   citations, and brackets omitted). The record is about 13,000
   pages. It is unreasonable to expect the Court to sift through such
   a voluminous record to find a few pages. “Judges are not like pigs,
   hunting for truffles buried in [the record].” U.S. v. Dunkel, 927
   F.2d 955, 956 (7th Cir. 1991) (per curiam). The Court need not
   consider the proof of claims because Rund did not cite to them in
   his Response. L.R. 7-18(c). Rund’s Motion is DENIED.
         Even if the Court reviewed the R&R for clear error, it would
   have rejected it. As discussed in the R&R, the Bankruptcy Court
   misapplied the sham declaration rule and the badges of fraud
   doctrine. Order at 9-12, Dkt. 22. Because of this erroneous legal
   application, the Court would have rejected the R&R under a clear


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   error standard. See Inst. of Cetacean Research v. Sea Shepherd
   Conservation Soc’y, 774 F.3d 935, 944 (9th Cir. 2014) (“Even if
   clear error review applied, it would still be appropriate to correct
   factual findings predicated on a misunderstanding of the
   governing rules of law.”).
         Rund’s Motion for Reconsideration is DENIED.

      IT IS SO ORDERED.


   Date: 8/13/18                         ___________________________
                                         Dale S. Fischer
                                         United States District Judge




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                           EXHIBIT 3


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                  UNITED STATES BANKRUPTCY COURT
                   CENTRAL DISTRICT OF CALIFORNIA
                             LOS ANGELES DIVISION


In re:    EPD Investment Co., LLC,            Case No.:    2:10-bk-62208-ER
          Debtor                              Adv. No.:    2:12-ap-02424-ER
Jason M Rund, solely in his capacity as          ORDER REQUIRING DEFENDANT AND
Chapter 7 Trustee,                               TRUSTEE TO SHOW CAUSE WHY THE
                                                 COURT SHOULD NOT STAY
                                       Plaintiff
                                                 ADJUDICATION OF THE CLAIMS
                      v.                         AGAINST THE BC TRUST UNTIL THE
John C. Kirkland and Poshow Ann Kirkland, DISTRICT COURT HAS ENTERED FINAL
solely in her capacity as Trustee of the         JUDGMENT AGAINST JOHN C.
Bright Conscience Trust Dated September 9, KIRKLAND
2009,
                                 Defendants
                                              OSC HEARING DATE:
                                              Date:       October 2, 2018
                                              Time:       10:00 a.m.
                                              Location:   Ctrm. 1568
                                                          Roybal Federal Building
                                                          255 East Temple Street
                                                          Los Angeles, CA 90012

    Good cause appearing, the Court HEREBY ORDERS as follows:
       1) On October 2, 2018, at 10:00 a.m., the Chapter 7 Trustee (the “Trustee”) and John
          C. Kirkland and Poshow Ann Kirkland, solely in her capacity as Trustee of the Bright
          Conscience Trust (the “BC Trust”) Dated September 9, 2009 (collectively, the
          “Defendants”) must appear and show cause, if any there be, why the Court should not



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         stay adjudication of the Trustee’s claims against the BC Trust until the District Court
         has entered final judgment on the Trustee’s claims against John C. Kirkland.
      2) By no later than September 25, 2018, the Trustee and Defendants shall submit papers
         responding to the Preliminary Findings and Conclusions set forth in the Court’s
         ruling issued on September 11, 2018 [Doc. No. 371]. By that same date, Mr. Kirkland
         shall file with the District Court a motion to withdraw the reference.

                                             ###




     Date: September 20, 2018




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                           EXHIBIT 4


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      LVVXHVDVLQFLGHQWDOWRWKHHTXLWDEOHRQHVE\DFRXUWWULDORIDFRPPRQLVVXHH[LVWLQJ
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       DQRSSRVLQJSDUW\ILOHDODWHRSSRVLWLRQRUDSSHDUDWWKHKHDULQJWKHFRXUWZLOO
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                           EXHIBIT 5


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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &         FOR COURT USE ONLY
 Email Address

 STEVEN T. GUBNER - Bar No. 156593
 COREY R. WEBER - Bar No. 205912
 MICHAEL W. DAVIS - Bar No. 274126

 EZRA BRUTZKUS GUBNER LLP
 21650 Oxnard Street, Suite 500
 Woodland Hills, CA 91367
 Telephone: (818) 827-9000
 Facsimile: (818) 827-9099
 Email: sgubner@ebg-law.com
        cweber@ebg-law.com
        mdavis@ebg-law.com
        Individual appearing without attorney
        Attorney for: Jason M. Rund, Chapter 7 Trustee

                                         UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION
                                                                                   U                                 U




 In re:
                                                                                CASE NO.: 2:10-bk-62208-ER
 EPD INVESTMENT COMPANY, LLC, and JERROLD S.
                                                                                ADVERSARY CASE NO.: 2:12-ap-02424-ER
 PRESSMAN,
                                                                                CHAPTER: 7
                                                                Debtor(s).

 JASON M RUND, CHAPTER 7 TRUSTEE,
                                                                                                 JOINT STATUS REPORT
                                                                                                    LBR 7016-1(a)(2)

                                                                Plaintiff(s).   DATE: 01/14/2014
                                        vs.                                     TIME: 11:00 am
 JOHN C. KIRKLAND, an individual, and POSHOW ANN                                COURTROOM: 1568
 KIRKLAND, as TRUSTEE of the BRIGHT                                             PLACE: Edward. R. Roybal Building
 CONSCIENCE TRUST DATED SPETMEBER 9, 2009,                                               255 East Temple Street,
                                                                                         Los Angeles, CA 90012
                                                            Defendant(s).

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE: ERNEST M. ROBLES

The parties submit the following JOINT STATUS REPORT in accordance with LBR 7016-1(a)(2):

A. PLEADINGS/SERVICE:
    U                               U




        1. Have all parties been served?                                                                                          Yes             No
        2. Have all parties filed and served answers to the complaint/counter-complaints/etc.?                                    Yes             No
        3. Have all motions addressed to the pleadings been resolved?                                                             Yes             No
        4. Have counsel met and conferred in compliance with LBR 7026-1?                                                          Yes             No



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        5. If your answer to any of the four preceding questions is anything other than an unqualified “YES,” then please
                                                                                               U      U




           explain below (or on attached page):
            Defendant Poshow Kirkland's Motion to Dismiss Second Amended Complaint LVset for hearing on 1/14/14
            [Doc. 57]. Defendants' Motions to stay adversary proceeding DUH set for hearing on 1/14/14 [Docs. 96, 101]

B. READINESS FOR TRIAL:
    U                                    U




        1. When will you be ready for trial in this case?
                                   Plaintiff U        U                                                   U   Defendant

                                     Week of 8/25/14                                                See Section F

        2. If your answer to the above is more than four (4) months after the summons issued in this case, give reasons for
            further delay.
                                       Plaintiff
                                             U        U                                 Defendant         U            U




             Second
         Second     amended
                 amended    complaint
                         complaint was was
                                       filedfiled on 5/24/2013;
                                             on 5/24/13;  Defendants have See Section F
         filedDefendants    havere:
               varous motions    filed various motions
                                    pleadings. Defendantre:J.pleadings.
                                                              Kirkland J.
                                                                        filed his
              Kirkland
         answer  to the filed his answer
                        complaint            to the
                                    on or about     complaint
                                                 12/6/13.       on or about
                                                          Defendant    P. Kirkland
              12/6/13.
         has not        Defendant
                 yet filed          J. Kirkland has not yet filed an answer.
                            an answer.
        3. When do you expect to complete your discovery efforts?
                                                          U   U




                                  Plaintiff  U        U                         Defendant                 U            U




            6/27/14                                               See Section F



        4. What additional discovery do you require to prepare for trial?
                                   Plaintiff U        U                             Defendant             U            U




            Interrogatories, Requests for Admission,                  See Section F
            Requests for Production of Documents,
            Depositions


C. TRIAL TIME:
    U                  U




    1. What is your estimate of the time required to present your side of the case at trial (including rebuttal stage if
                                                                                     U                        U




       applicable)?
                               Plaintiff     U        U                          Defendant                U




        2-5 Days                                                  See Section F



        2. How many witnesses do you intend to call at trial (including opposing parties)?
                                Plaintiff    U        U                              Defendant            U            U




            Unkown at this time                                       See Section F



        3. How many exhibits do you anticipate using at trial?
                                 Plaintiff   U        U                                                   U   DefendantU




            Unkown at this time                                                          See Section F




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D. PRETRIAL CONFERENCE:
    U                                          U




    A pretrial conference is usually conducted between a week to a month before trial, at which time a pre-trial order will
    be signed by the court. [See LBR 7016-1.] If you believe that a pre-trial conference is not necessary or appropriate in
    this case, please so note below, stating your reasons:

                                   Plaintiff
                                   U               U                                                            U   Defendant    U




         Pretrial conference         is      is not requested                            Pretrial conference         is    is not requested
         Reasons:                                                                        Reasons:
                                                                                         See Section F



                                 Plaintiff U               U                                                    Defendant
                                                                                                                        U            U




         Pretrial conference should be set after:              U        U                Pretrial conference should be set after:        U    U




         (date) 07/28/2014
               U                                                            U            (date) See Section F
                                                                                                U                                                 U




E. SETTLEMENT:
    U                    U




    1. What is the status of settlement efforts?
       The Parties have engaged in limited settlement discussions.




    2. Has this dispute been formally mediated?                                  Yes           No
       If so, when?



        3. Do you want this matter sent to mediation at this time?

                                       Plaintiff
                                       U               U                                                            U   Defendant

                                           Yes                     No                                                   Yes              No


                                                                                                            See Section F




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   12/31/2013




/s/ Corey R. Weber


                                            Autumn D. Spaeth




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                                         PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
21650 Oxnard Street, Suite 500, Woodland Hills, California 91367.

A true and correct copy of the foregoing documents entitled: JOINT STATUS REPORT will be served or was served (a)
on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
December 31, 2013, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

Jeffrey I Golden jgolden@wgllp.com, kadele@wgllp.com
Ashley M McDow amcdow@bakerlaw.com, rojeda@bakerlaw.com;gharris@bakerlaw.com
Jason M Rund (TR) trustee@srlawyers.com, jrund@ecf.epiqsystems.com
Autumn D Spaeth aspaeth@wgllp.com, tjones@wgllp.com
Scott C Timpe stimpe@mbnlawyers.com, scott.timpe@gmail.com;aacosta@mbnlawyers.com
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Robert G Wilson rwilson@lgbfirm.com, kalandy@lgbfirm.com
Aleksandra Zimonjic azimonjic@lgbfirm.com, marizaga@lgbfirm.com;ncereseto@lgbfirm.com

                                                                                  Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On _____________, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed:



                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on December 31, 2013, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed:

 BY OVERNIGHT MAIL

 Honorable Ernest M. Robles
 United States Bankruptcy Court
 Los Angeles Division – Roybal Federal Bldg.
 255 East Temple Street, Suite 1560
 Los Angeles, CA 90012-3332


                                                                                  Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 December 31, 2013                            JESSICA ROEL                          /s/ Jessica Roel
 Date                                        Printed Name                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
     Rund, Trustee                                              CASE NUMBER

                                             PLAINTIFF(S),               2:18-cv-01413-DSF
                               v.
     Kirkland et al.
                                                                PROOF OF SERVICE - ACKNOWLEDGMENT
                                                                            OF SERVICE
                                           DEFENDANT(S).


    I, the undersigned, certify and declare that I am over the age of 18 years, employed in the County of
Los Angeles                                                                          , State of California, and not a
party to the above-entitled cause. On  September 25                          , 20 18          , I served a true copy of
NOTICE OF MOTION AND MOTION BY DEFENDANTS TO WITHDRAW REFERENCE TO BANKRUPTCY COURT ETC.
by personally delivering it to the person (s) indicated below in the manner as provided in FRCivP 5(b); by
depositing it in the United States Mail in a sealed envelope with the postage thereon fully prepaid to the following:
(list names and addresses for person(s) served. Attach additional pages if necessary.)
(&) 'HOLYHU\6HH $WWDFKHG 1() /LVW
       Place of Mailing:
       Executed on 9/25                          , 20 18           at Los Angeles                     , California

       Please check one of these boxes if service is made by mail:

       ✘ I hereby certify that I am a member of the Bar of the United States District Court, Central District of
       G
         California.
       G I hereby certify that I am employed in the office of a member of the Bar of this Court at whose direction the
         service was made.
       G I hereby certify under the penalty of perjury that the foregoing is true and correct.
                                                            V /HZLV 5 /DQGDX
                                                           Signature of Person Making Service


                                      ACKNOWLEDGEMENT OF SERVICE

I,                                               , received a true copy of the within document on                    .



Signature                                                         Party Served



CV-40 (01/00)                            PROOF OF SERVICE - ACKNOWLEDGMENT OF SERVICE                    110
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